     Case 2:24-bk-11057-DS      Doc 602 Filed 02/11/25 Entered 02/11/25 16:57:26         Desc
                                 Main Document     Page 1 of 9


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 7

 8                             UNITED STATES BANKRUPTCY COURT

 9                              CENTRAL DISTRICT OF CALIFORNIA
10                                        LOS ANGELES DIVISION
11

12   In re                                         CASE NO. 2:24-bk-11057-DS

13   Oceanwide Plaza LLC,                          Chapter 11

14           Debtor.                               AMENDED JOINT RESERVATION OF
                                                   RIGHTS BY L.A. DOWNTOWN
15                                                 INVESTMENT LP AND CHICAGO TITLE
                                                   INSURANCE COMPANY TO CLAIM
16                                                 TRANSFER AGREEMENTS ENTERED
                                                   INTO BY DTLA FUNDING, LLC
17

18                                                 DATE:        [No Hearing Date Set]
                                                   TIME:
19                                                 DEPT:        Ctrm 1639
                                                                255 East Temple Street
20                                                              Los Angeles, CA 90012

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                                                1                      CASE NO. 2:24-bk-11057-DS
       AMENDED JOINT RESERVATION OF RIGHTS BY L.A. DOWNTOWN INVESTMENT LP AND CHICAGO TITLE
        INSURANCE COMPANY TO CLAIM TRANSFER AGREEMENTS ENTERED INTO BY DTLA FUNDING, LLC
     ACTIVE 707043425v2
     Case 2:24-bk-11057-DS         Doc 602 Filed 02/11/25 Entered 02/11/25 16:57:26                  Desc
                                    Main Document     Page 2 of 9


 1            L.A. Downtown Investment LP (“LADI”) and Chicago Title Insurance Company (“CTIC”) file this

 2   amended joint reservation of rights with respect to Claim Transfer Agreements entered into by DTLA

 3   Funding, LLC (“DTLA Funding”). 1

 4   I.       INTRODUCTION

 5            Lendlease (US) Construction, Inc. (“Lendlease”) has repeatedly caused delay and attempted to

 6   create roadblocks to the recognition of LADI’s senior secured position. Among other things, Lendlease

 7   engineered the filing of the involuntary petition to commence this bankruptcy case to trigger the automatic

 8   stay to delay a state court trial scheduled to adjudicate the validity of LADI’s deed of trust (“DOT”), and

 9   unsuccessfully opposed LADI’s motion for relief from the automatic stay which allowed the state court

10   proceedings to proceed to trial.

11            Unfortunately, these obstructionist tactics are not limited to acts taken by Lendlease. Lendlease

12   caused the formation of DTLA Lending for the sole purpose of obstruction. DTLA Lending has done

13   nothing but act on Lendlease’s behalf to further Lendlease’s goal of avoiding a determination on the merits

14   of the parties’ dispute. DTLA Lending, as opposed to Lendlease, proposed to provide DIP financing in this

15   case on terms well below market even though Lendlease is beset by financial troubles and is shutting down

16   its U.S. operations. Lendlease is not in the business of providing financing to debtors or otherwise. Neither

17   was DTLA Lending before this action. Lendlease made clear it would object to DIP financing provided by

18   an arms-length third-party lender. Lendlease did so to manipulate this action: DTLA Lending provided in

19   its proposed loan terms that the grant of LADI’s request for stay relief to proceed with the state court action

20   would be an event of default under the DIP loan. At bottom, Lendlease/DTLA Lending sought to buy off

21   the Debtor by providing cheap financing to ensure the Debtor would oppose stay relief. As with virtually

22   every other tactic employed by Lendlease/DTLA Lending, they were not successful in seeking to use the

23   DIP loan for this purpose.

24            Lendlease’s delay tactics continued in the state court action, ballooning what should have been a

25   six-day trial into four weeks. The state court trial finally concluded and Lendlease suffered a resounding

26   defeat on virtually every issue and claim it raised. The state court went as far as calling a Lendlease

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     1
      The prior reservation inadvertently identified DTLA Lending, LLC (“DTLA Lending”), rather than
28   DTLA Funding, as the transferee.
                                                   2                      CASE NO. 2:24-bk-11057-DS
          AMENDED JOINT RESERVATION OF RIGHTS BY L.A. DOWNTOWN INVESTMENT LP AND CHICAGO TITLE
           INSURANCE COMPANY TO CLAIM TRANSFER AGREEMENTS ENTERED INTO BY DTLA FUNDING, LLC
     ACTIVE 707043425v2
     Case 2:24-bk-11057-DS        Doc 602 Filed 02/11/25 Entered 02/11/25 16:57:26                Desc
                                   Main Document     Page 3 of 9


 1   argument “mud on the wall” and another Lendlease tactic as a “sideshow.” A Statement of Decision will

 2   soon be entered on these issues in favor of LADI.

 3           Now, another Lendlease affiliate, DTLA Funding, has been created to interfere with the

 4   proceedings. Sixteen Notices of Transfer of Claim Other Than for Security (“Notices”) were filed in the in

 5   this case reflecting transfers from Lendlease’s subcontractors to DTLA Funding. These subcontractors held

 6   claims against Lendlease for non-payment for their services. While the consideration paid for the claim

 7   transfers is not disclosed in any of the filings, the claims have been transferred to DTLA Funding rather

 8   than to the obligor, Lendlease. This was likely done because Lendlease and yet another Lendlease affiliate,

 9   Lendlease (US) Construction Holdings, Inc. (“Lendlease Holdings”), entered into a Contractor’s Indemnity

10   Agreement with CTIC and any claims Lendlease or Lendlease Holdings acquired would be subject to the

11   subordination provision in the agreement. Specifically, in paragraph 8 of the Contractor’s Indemnity

12   Agreement, Lendlease and Lendlease Holdings agreed to:

13           [S]ubordinate[] any Mechanic’s Lien it may have or hereafter acquire against said Real
14           Property in connection with the construction of [the Oceanwide Plaza Project] to any
             interest or mortgage lien arising out of financing for the construction project, (including
15           Construction Trust Deeds, bridge loans, permanent financing) insured by [CTIC] which
             insurance provides protection against loss by reason of such Mechanic’s Lien . . . .
16

17           The state court has already held that mechanic’s liens assigned to Lendlease are subordinated under

18   this agreement. This filing is done to ensure that DTLA Funding/Lendlease does not claim that LADI or

19   CTIC have somehow acquiesced to this gamesmanship. LADI and CTIC reserve all rights to contest the

20   priority of the claims DTLA Funding/Lendlease have acquired.

21   II.     THE CLAIM TRANSFERS

22           Based upon the bankruptcy docket, after the state court’s oral ruling in favor of LADI, there have

23   been at least 16 claims transferred to DTLA Funding. These consist of claims filed by Bapko Metal, Inc.,

24   claim no. 13 (Doc. No. 559); American Stair Corporation, Inc., claim no. 5 (Doc. No. 560); ACCO

25   Engineered Systems, Inc., claim no. 12 (Doc. No. 561); JT Wimsatt, claim no. 21 (Doc. No. 562); Kovach

26   Enclosure Systems, LLC, claim no. 23 (Doc. No. 563); YESCO LLC, claim no. 24 (Doc. No. 564); Pan

27   Pacific Mechanical LLC. Claim no. 94 (Doc. No. 565); Schuff Steel Company, claim no. 11 (Doc. No.

28   583); XL Fire Protection Co., Stretto Schedule #2633106 (Doc. No. 584); Woodbridge Glass Inc., claim
                                                3                      CASE NO. 2:24-bk-11057-DS
       AMENDED JOINT RESERVATION OF RIGHTS BY L.A. DOWNTOWN INVESTMENT LP AND CHICAGO TITLE
        INSURANCE COMPANY TO CLAIM TRANSFER AGREEMENTS ENTERED INTO BY DTLA FUNDING, LLC
     ACTIVE 707043425v2
     Case 2:24-bk-11057-DS         Doc 602 Filed 02/11/25 Entered 02/11/25 16:57:26                 Desc
                                    Main Document     Page 4 of 9


 1   no. 30 (Doc. No. 585); Johnson Controls Fire Protection, LP, Stretto Claim #55 (Doc. No. 586); Continental

 2   Marble and Tile Company, claim no. Stretto Schedule #2633080 (Doc. No. 587); The Nevell Group, Inc.,

 3   Stretto Schedule #2633093 (Doc. No. 588); Fetzers’ Inc., Stretto Claim #79 (Doc. No. 589); Martin

 4   Bros./Marcowall, Inc., Claim no. 17 (Doc. No. 590); Tractel Ltd., Claim no. 6 (Doc. No. 591) (collectively

 5   the “Claims”). No information concerning the terms of the transfers has been provided.

 6   III.    THE TRANSFER OF THE CLAIMS DOES NOT CURE THE DEFICIENCIES

 7           Transferring the Claims does not create greater or additional rights for the transferee, DTLA

 8   Funding. In re KB Toys, Inc., 470 B.R. 331, 335 (Bankr. D. Del. 2012), aff’d, 736 F. 3d 247 (3d Cir. 2013).

 9   Further, there may be a variety of potential legal theories that may be applied to address what appears to

10   be an end run around the state court’s ruling. LADI and CTIC do not have sufficient facts to assess and

11   identify which potential legal theories may apply.

12   IV.     RESERVATION OF RIGHTS

13           LADI and CTIC reserve all rights, remedies, claims, and defenses to address the propriety of the

14   acts being engaged in by Lendlease and DTLA Funding, including, but not limited to, all rights to assert

15   that DTLA Funding is an artifice to accept assignments of mechanic’s liens from subcontractors in a

16   wrongful effort to avoid the state court’s judgment that mechanic’s liens acquired by Lendlease and

17   Lendlease Holdings are contractually subordinated to LADI’s DOT under the terms of the Contractor’s

18   Indemnity Agreement Lendlease and Lendlease Holdings provided to CTIC and, as to Lendlease, under

19   the July 2016 Contract between Lendlease and Oceanwide Plaza, LLC. LADI and CTIC further reserve all

20   rights and remedies, including, but not limited to, the right to raise and assert that Lendlease and Lendlease

21   Holdings breached the implied covenant of good faith and fair dealing in the Contractor’s Indemnity

22   Agreement through any subcontractor mechanic’s lien assignments to DTLA Funding. LADI further

23   reserves the right to raise and assert that Lendlease breached the implied covenant of good faith and fair

24   dealing in the July 2016 Contract through any such assignments. Notably, the state court already has held

25   that Lendlease breached the implied covenant of good faith and fair dealing in the Contractor’s Indemnity

26   Agreement by its refusal to acknowledge the subordination of its liens. The state court also held that LADI

27   is a third-party beneficiary to the Contractor’s Indemnity Agreement and the July 2016 Contract.

28
                                                4                      CASE NO. 2:24-bk-11057-DS
       AMENDED JOINT RESERVATION OF RIGHTS BY L.A. DOWNTOWN INVESTMENT LP AND CHICAGO TITLE
        INSURANCE COMPANY TO CLAIM TRANSFER AGREEMENTS ENTERED INTO BY DTLA FUNDING, LLC
     ACTIVE 707043425v2
     Case 2:24-bk-11057-DS          Doc 602 Filed 02/11/25 Entered 02/11/25 16:57:26                    Desc
                                     Main Document     Page 5 of 9


 1           Indeed, Lendlease appears to be playing a corporate shell game in reaction to its defeat in this

 2   litigation and to evade the state court’s statement of decision and future judgment. For example:

 3           •   On December 11, 2024, the state court rejected Lendlease’s argument that the

 4               mechanic’s lien it acquired from Webcor Construction, LP, was not contractually

 5               subordinated to LADI’s deed of trust. Later that same day, at or around 5:23 PM,

 6               Lendlease’s counsel (Perkins Coie) filed DTLA Funding’s articles of organization with

 7               the California Secretary of State.

 8           •   Next, on January 10, 2025, the same day the state court heard CTIC’s motion for leave

 9               to amend its complaint and again rejected Lendlease’s claim about later acquired

10               mechanic’s liens not being subordinated, the several Notices were filed with this Court.

11           Lendlease Americas, Inc. is the manager or member of DTLA Funding and wholly owns Lendlease

12   Holdings, and Lendlease is a wholly-owned subsidiary of Lendlease Holdings. As explained in Lendlease’s

13   Rule 7.1 Corporate Disclosure Statement filed in December 2023:

14           Lendlease (US) Construction Inc. is a wholly-owned subsidiary of Lendlease (US)
             Construction Holdings Inc., which is a wholly-owned subsidiary of Lendlease Americas
15           Inc., a Delaware corporation, which is a wholly-owned subsidiary of Lendlease Americas
             Holdings Inc., a Delaware corporation, which is a wholly-owned subsidiary of Lend Lease
16           International Pty Limited, which is an Australian company and is a wholly-owned
             subsidiary of Lendlease Corporation Limited. The shares of Lendlease Corporation Limited
17           are combined as stapled securities with the units in Lendlease Trust and are traded as one
             security under the name of Lendlease Group on the Australian Securities Exchange.
18

19           In other words, DTLA Funding is simply part of a shell game Lendlease, Lendlease Holdings, and

20   their affiliates are using in an attempt to evade the rulings of this Court and the state court.

21           This reservation of rights is intended with respect to the Claims and any other claims DTLA

22   Funding has acquired. LADI and CTIC further reserve the right to challenge the Claims based upon any

23   improper disclosure to DTLA Funding or DTLA Lending of confidential information Lendlease may have

24   received as a Consulting Party.

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                                                5                      CASE NO. 2:24-bk-11057-DS
       AMENDED JOINT RESERVATION OF RIGHTS BY L.A. DOWNTOWN INVESTMENT LP AND CHICAGO TITLE
        INSURANCE COMPANY TO CLAIM TRANSFER AGREEMENTS ENTERED INTO BY DTLA FUNDING, LLC
     ACTIVE 707043425v2
     Case 2:24-bk-11057-DS      Doc 602 Filed 02/11/25 Entered 02/11/25 16:57:26        Desc
                                 Main Document     Page 6 of 9


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 3   DATED: February 11, 2025               GREENBERG TRAURIG, LLP

 4

 5                                       By /s/ Howard J. Steinberg
                                            Howard J. Steinberg
 6                                          Attorneys for L.A. Downtown Investment LP
 7
     DATED: February 11, 2025               GARRETT & TULLY, P.C.
 8

 9
                                         By /s/ Scott Mahler
10                                          Scott Mahler
                                            Attorneys for Chicago Title Insurance Company
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                                                6                      CASE NO. 2:24-bk-11057-DS
       AMENDED JOINT RESERVATION OF RIGHTS BY L.A. DOWNTOWN INVESTMENT LP AND CHICAGO TITLE
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     ACTIVE 707043425v2
       Case 2:24-bk-11057-DS                   Doc 602 Filed 02/11/25 Entered 02/11/25 16:57:26                                      Desc
                                                Main Document     Page 7 of 9



                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Greenberg Traurig LLP, 1840 Century Park East, Suite 1900, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): AMENDED JOINT RESERVATION OF RIGHTS BY
L.A. DOWNTOWN INVESTMENT LP AND CHICAGO TITLE INSURANCE COMPANY TO CLAIM TRANSFER
AGREEMENTS ENTERED INTO BY DTLA FUNDING, LLC will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On February
11, 2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)_____, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on _______(date), I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  February 11, 2025                Terrine Pearsall                                          /s/ Terrine Pearsall
 Date                        Printed Name                                                    Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                        F 9013-3.1.PROOF.SERVICE
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Case 2:24-bk-11057-DS    Doc 602 Filed 02/11/25 Entered 02/11/25 16:57:26        Desc
                          Main Document     Page 8 of 9




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Case 2:24-bk-11057-DS    Doc 602 Filed 02/11/25 Entered 02/11/25 16:57:26      Desc
                          Main Document     Page 9 of 9



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